347 F.2d 507
    In the Matter of WHITE PLAINS COLONY ESTATES, INC., Bankrupt.Roderick B. TRAVIS, Trustee-Appellant,v.CORNELL ASSOCIATES, INC., Appellee.
    No. 550.
    Docket 29711.
    United States Court of Appeals Second Circuit.
    Argued June 18, 1965.
    Decided June 21, 1965.
    
      Appeal from an order of the United States District Court for the Southern District of New York, Edward C. Mc Lean, J., affirming an order of a Referee in Bankruptcy.
      Jacob Oliner, New York City, for trustee-appellant.
      Isidore M. Rodin, New York City, for appellee.
      Before KAUFMAN, HAYS and MARSHALL, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellant, the trustee in bankruptcy of White Plains Colony Estates, Inc., appeals from an order of the United States District Court for the Southern District of New York, McLean, J., which affirmed the rejection after full hearing by the Referee in Bankruptcy of claims challenging in the main the validity of various liens held by Cornell Associates, Inc., a secured creditor of the Bankrupt. We have carefully examined all points raised by the trustee and find them to be without merit.
    
    
      2
      Affirmed.
    
    